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                            UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES

 Date: June 23, 2023            Time: 2 Hours     Judge: YVONNE GONZALEZ ROGERS
                                      31 Minutes
 Case No.: 11-cv-06714-YGR      Case Name: In Re Apple iPhone Antitrust Litigation



Attorneys for Plaintiff: Mark Rifkin, Rachele Byrd, David Frederick, Betsy Manifold and
                        Kyle Matthew Wood
Attorneys for Defendant: Daniel Swanson, Cynthia Richman, Caeli Higney and
                          Julian Kleinbrodt

 Deputy Clerk: Edwin Cuenco                            Court Reporter: Pamela Batalo-Hebel


                          PROCEEDINGS: Motion Hearing - HELD


Motions for Class Certification and Daubert Motion argued and submitted. The Court orders the
parties to meet and confer and e-file a Joint Statement Re: Timing of Future Reports and Motions
by June 30, 2023. Parties are to e-file a Joint Brief on caselaw regarding percentages of uninjured
class members by June 30, 2023.
